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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

OUYEINC LTD.,
                                                 Case No. 20 cv 3490
                         Plaintiff,

       v.

Alucy and et al.,

                         Defendants.



                        NOTICE OF DISMISSAL UNDER RULE 41(a)(1)


       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Ouyeinc Ltd.

(“Ouyeinc” or “Plaintiff”) hereby dismisses this action with prejudice pursuant to settlement as

to the following Defendants:

              Defendant Name                                       Line No.

                bestbuystreets                                        132

                      hotyoyo                                         296

                    acwholesaler                                      108



DATED August 7, 2020                                Respectfully submitted,

                                                    /s/ James A. Karamanis
                                                    James A. Karamanis
                                                    Barney & Karamanis, LLP
                                                    Two Prudential Plaza
                                                    180 N. Stetson, Ste 3050
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                                        ATTORNEY FOR PLAINTIFF Ouyeinc Ltd.
